~J                   "1     Case 2:19-cv-05601-KSM Document 1 Filed 11/27/19 Page 1 of 15
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rs44 (Rev    02119>,1                ,.,_ ___,.. "'~VIL COVER SHEET                                                                                \ ~,           S G, C) \
The JS 44 c.1vil co · · sheef anctthe mfonnatton contamed herem neither replace nor supplement the fihng and service of pleadmgs or other papers as required by law, except as
provided by local      es of court. Tuts form, approved by the Jud1c1al Conference of the Umted States m September 1974, 1s reqwred fi       e of the Cl     ~       or e
purpose of tmttatmg the ctvtl docket sheet (SEE INS7'RUC11ONS ON NEXT PAGE OF THIS FORM)                                                                                                 0

Bozzuto Management Company                                                                                                                                                                    sociates LP
6406 Ivy Lane, Suite 700, Greenbelt, MD
  (b) County of Residence of First Listed Plam                                                               County of Residence of First Listed Defen
                                (EXCEPT IN US. P                                                                                    (IN US PLAIN11FF
                                                                                                             NOTE    IN LAND CONDEMNATION CAS
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    ( C) Attorneys (Fjnn Nam,g, Address, and       lwhone Number}                                            Attorneys Uf Known)
Morton R Branzburg, c:squire 2     r Tel.: 215-56
Klehr Hamson Harvey Branzburg LP
1835 Market St , Suite 1400, Ph1la  hI

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8 I     US Government                         Federal Question
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          Defendant                             Undicate Cilizenship of Parnes in Item Ill)                                                                of Busmess In Another State

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CJ 110 Insurance                       PERSONAL INJURY                                                                                                                      n 375 False Clauns Act
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CJ 140 Negollable Instrument                 Liability              CJ 367 Health Care/                                                                                     '.J 400 State Reapporllonment
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~ 190 ther Contract                         Product Liability       '.J 380 Other Personal        CJ   720 Labor/Management            0 863 DIWC/DIWW (405(g))             '.J 490 Cable/Sat TV
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    20 Foreclosure                  '.J 441 Vollng              CJ 463 Aben Detamee                        Income Secunty Act                   or Defendant)                       Act
CJ 230 Rent Lease & Ejectment       n 442 Employment            0 5 JO Motions to Vacate                                               0 871 IRS Tlurd Party                n 896 Arb1tra11on
CJ 240 Torts to Land                n 443 Housmgt                       Sentence                                                                   26l:SC 7609              0 899 Adnurustrallve Procedure
0 245 Tort Product Liability                Accommodallons      CJ 530 General                                                                                                      Act/ReV1ew or Appeal of
0 290 All Other Real Property       CJ 445 Amer w/Disab1h11es - 0 53 5 Death Penalty                                                                                                Agency Dec1S1on
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                                        Cite the US Civil Statute under which you are fihng (Do not citejllrisdictional staflltes ""less lliversily)
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             SE OF ACTION              I-B_n_e_f_d-es_cn_f_t_10_n_o_f,_c-au_s_e---------------------------• - - • - - - - - - -
                                         breach o contract
VII. REQUESTED IN     l7 CHECK IF TIDS IS A CLASS ACTION                                               DEMANDS                                                                           dmcomplamt.
     CO.MPLAINT:          ill<TIER RULE 23, F R.Cv P                                                     170,000 00                                                                             • No
VIII. RELATED CASE(S)
      IFA.W
                        (See znstruclions)
                                           nJDGE                                                                                            DOCKET NUMBER
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DATE
11/27/2019
FOR OFFICE USE ONLY

    RECEIPT#                    AMOL'NT                                     APPLYING IFP                                  JL'DGE                                 MAG JL'DGE
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                                Case 2:19-cv-05601-KSM
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      f -·             ., , , , , _,        . .., ., . i, 1           UNITED STA TES DISTRICT COURT


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                            {to b
                                 Ji     c
                                                                               DESIGNATION FORl\1
                                            nse/ or pro sflatnt!ff to tndicate the category of the case for the purpose of assignment to the appropriate calendar)

Addre~~t:~_la!~::~MJ:?.?'.Z:uto Management Company, 6406 Ivy Lane, Suite 700, Greenbelt, MD 20770
                       CP AcquIs1bon 10 LP and Cl 6E Lancaster Avenue Associates LP,
Address ofD efiendan;t - ------
                                                                                                                      18 East Lancaster Avenue. Wynnewood, PA 19096


Place of Accident, Incident or Transaction                                  18 East Lancaster Avenue, Wynnewood, PA 19096
                                                                                                                                                                -------

RELATED CASE, IF ANY:

Case Number                                                          Judge·                                                     Date Termmated.

Civil cases are deemed related when Yes is answered to any of the followmg questions

          Is this case related to property included m an earher numbered suit pendmg or wtthm one year
          previously termmated action m thts court?
                                                                                                                                   Yes   •               No[{]


2         Does this case mvolve the same issue of fact or grow out of the same transact10n as a pnor suit                          YesD                  No[{]
          pendmg or w1thm one year previously termmated action m this court?

3         Does this case mvolve the vahd1ty or mfnngement of a patent already m smt or any earlter                                 YesD                  No[ZJ
          numbered case pendmg or wtthm one year previously termmated action of thts court?

4         ls this case a second or successive habeas corpus, soc,
          case filed by the same mdiVIdual?
                                                                            secunty appeal, or pro se civil nghts
                                                                                                                                   Yes   •               No[{]


I certify that, to my knowledge, the wtthtn case                                    related to any case now pendmg or w1thm one year prev10usly termmated action m
this court except as noted above

DATE
               11/27/2019                                                                                                                            24477
                                                                                                                                              Attorney ID # {if applicable)


CIVIL: (Place a ✓ in one category only)



                                                                                                :J
          - ~ Federal Question Cases:

                     lndemmty Contract, Manne Contract, and All Other Contracts                       1._•vers~~::,::::::d Other Contracts
                                                                                                      D
                     FELA                                                                      []     2     Airplane Personal Injury
                     Jones Act-Personal Injury                                                  D     3     Assault, Defamation
                     Antitrust                                                                  D     4     Manne Personal lnJury
                                                                                                D
B
•         7
                     Patent
                     Labor-Management Relat10ns
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                                                                                                            Motor Verucle Personal Injury
                                                                                                            Other Personal Injury {Please specify)
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          9.
                     Habeas Corpus
                     Secunt1es Act(s) Cases
                                                                                                D
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                                                                                                            Products L1abibty -- Asbestos
                                                                                                            All other Diversity Cases
 •0       JO
          11
                     Social Secunty Review Cases
                     All other Federal Question Cases
                                                                                                            {Please specify)   ___

                     {Please specify)



                                                                                 ARBITRATION CERTIFICATION
                                                       (The effect of thzs certtftcatwn ts to remove the case from eltgzbtl,ty for arbitration)

                     Morton R. Branzburg                      __, counsel of record or pro se plamttff, do hereby certify


                      ursuant to Local ClVll Rule 53 2, § 3(c) (2), that to the best ofmy knowledge and behef, the damages recoverable m thts clVll action case
                     exceed the sum of $150,000 00 exclusive of interest and costs                                                                  ·

                     Rehef other than monetary damages 1s sought
                                                                                                                                                   NOV 27 20.Ul
DATE.
               11/27/2019                                                                                                                            24477
                                                                                                                                              Attorney ID   #   {if applzcable)

NOTE. A tnal de novo will be a tnal by ;ury only 1f there has been compliance with FR C P 38

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       JS. :~ ~ii.""' ..,-f"ffl';..   ;>-.
                                                 hN THE UNITED STATES DISTRICT COURT
                                             ..FOfi. THE EASTER"f DISTRICT OF PE~'NSYL VANIA

                                             CASE MANAGEMENT TRACK DESIG~ATION FOR.\1

Bozzuto Management 1 :company                                                          CIVIL ACTION

                                               V.
CP Acquisitions 10, LP and
CI 6E Lancaster Avenue                                                                 NO.
                                                                                               !9      5601
 Associates LP
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filmg the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                                ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                     ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.         ( )

( d) Asbestos - Cases involving claims for personal injury or property damage from
     exposure to asbestos.                                                                             ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks.


11/27/2019
-D-a-te--------~~
                                                     ~.A                        Morton R. Branzburg
                                                                                                      e
                                                                                   Attorney for Plaintiff
  215~569-3007                                        215-568-6603                 mbranzburg@klehr.com

Telephone                                                FAX Number                 E-Mail Address



(Civ. 660) 10/02




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